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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      OCALA DIVISION

WALTER J MYERS, JR ,

        Plaintiff,

v.                                                                           Case No: 5:20-cv-2-Oc-PRL

COMMISSIONER OF SOCIAL
SECURITY,

        Defendant.


                                                  ORDER
        This matter is before the Court on Plaintiff’s unopposed Motion for Attorney’s Fees. (Doc.

25). Pursuant to the Equal Access to Justice Act (“EAJA”), 28 U.S.C. §2412(d), Plaintiff requests

an award of fees in the amount of $4,636.48. Plaintiff also provides an incorporated schedule of

hours that confirms the attorney hours. (Doc. 25). Plaintiff represents that the Commissioner has

no objection to the motion.

        Plaintiff asserts that he is the prevailing party in this litigation, that the Commissioner’s

position in the underlying action was not substantially justified and that his net worth at the time

the proceeding was filed was less than two million dollars.1 (Doc. 25). Previously, the Court

entered an Order reversing and remanding this cause back to the Commissioner for further




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          Under the EAJA, a claimant is eligible for an attorney fee award where: (1) the claimant is a
prevailing party in a non-tort suit involving the United States; (2) the Government’s position was not
substantially justified; (3) the claimant filed a timely application for attorney’s fees; (4) the claimant had a
net worth of less than $2 million at the time the complaint was filed; and (5) there are no special
circumstances which would make the award of fees unjust. 28 U.S.C. § 2412(d).
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proceedings pursuant to sentence four of 42 U.S.C. § 405(g). (Doc. 23). The Clerk entered

Judgment accordingly. (Doc. 24).

       Plaintiff has assigned any fee under the EAJA to Plaintiff’s attorney. (Doc. 25-1). In light

of the assignment, Plaintiff requests that the payment should be made payable to Plaintiff and

delivered to Plaintiff’s counsel unless Plaintiff owes a federal debt. If the U.S. Department of the

Treasury determines that Plaintiff does not owe a federal debt, the government will accept

Plaintiff’s assignment of EAJA fees and pay fees directly to Plaintiff’s counsel.

       Pursuant to the provisions of the Equal Access to Justice Act (28 U.S.C. §2412(d)),

Plaintiff’s petition for attorney’s fees (Doc. 25) is hereby GRANTED. Plaintiff is awarded

attorney’s fees in the amount of $4,636.48. Payment is authorized to Plaintiff’s counsel if the

Commissioner determines Plaintiff does not owe a debt to the government.

       DONE and ORDERED in Ocala, Florida on October 29, 2020.




Copies furnished to:

Counsel of Record
Unrepresented Parties




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